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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
     v.                            )           2:13cr67-MHT
                                   )               (WO)
TARRISH TELLIS                     )

                                ORDER

    It    is   ORDERED     that    defendant      Tarrish     Tellis’s

motion for a sentence reduction pursuant to the First

Step Act, 18 U.S.C. § 3582(c)(1)(A)(i) (Doc. 320) is

denied for the reasons set forth below.

    Tellis seeks relief under 18 U.S.C.               3582(c)(1)(A),

which provides, as relevant here:

    “The   court  may  not  modify  a   term  of
    imprisonment once it has been imposed except
    that—

          (1) in any case—

               (A) the court, upon motion of the
               Director of the Bureau of Prisons, or
               upon motion of the defendant after the
               defendant has fully exhausted all
               administrative rights to appeal a
               failure of the Bureau of Prisons to
               bring a motion on the defendant’s
               behalf or the lapse of 30 days from
               the receipt of such a request by the
               warden of the defendant’s facility,
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               whichever is earlier, may reduce the
               term of imprisonment (and may impose a
               term   of    probation   or   supervised
               release with or without conditions
               that does not exceed the unserved
               portion   of   the   original  term   of
               imprisonment), after considering the
               factors set forth in [18 U.S.C.]
               section 3553(a) to the extent that
               they are applicable, if it finds that—

                     (i) extraordinary and compelling
                     reasons warrant such a reduction;
                     ...

               and   that   such            a   reduction   is
               consistent   with           applicable   policy
               statements issued           by the Sentencing
               Commission.”

18 U.S.C. § 3582(c)(1)(A) (italics added).

    Tellis    filed       his   motion     in   December      of   2021,

asserting that his medical conditions of hypertension

and family history of heart disease, combined with the

COVID-19   pandemic       and   the     difficulty      of    protecting

himself from the disease in the open-dormitory-style

prison     where     he     was        being    held,        constituted

extraordinary      and     compelling      reasons      warranting      a

reduction of his 223-month sentence for one count of

conspiracy to defraud the United States, 11 counts of


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theft of public money, and five counts of aggravated

identity theft.

       At the time he filed his motion, the applicable

United     States      Sentencing      Guidelines       policy     statement

provided that “the only medical conditions that rise to

the     level    of    extraordinary          and    compelling     are    as

follows: if the medical condition (i) is a terminal

illness or (ii) ‘substantially diminishes the ability

of the defendant to provide self-care within’ prison.”

United States v. Giron, 15 F.4th 1343, 1346 (11th Cir.

2021)     (quoting      U.S.S.G.       §    1B1.13     cmt.   n.1(A)     (2021

ed.)).        Tellis     failed    to       meet    this     standard.      He

presented no evidence that he suffered from a terminal

illness,      and     although    he       submitted    evidence    that    he

suffered from hypertension, Tellis did not present any

evidence        that     his     hypertension          was     particularly

serious.        Moreover, he noted in his motion that he has

been     vaccinated      and     boosted       for     COVID-19,    and     he

submitted proof of vaccination.                    Particularly in light

of his vaccination status, the court could not find


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that    Tellis’s     hypertension            was       so    severe        that     it

substantially       diminished              his       ability        to     provide

self-care in the prison environment.

       Of course, the United States Sentencing Guidelines

provision covering motions for compassionate release,

§ 1B1.13,    has    been       amended        since         Tellis    filed       his

motion,     so    the     court     has       considered         whether           the

evidence     in     the        record        is       sufficient           to     show

extraordinary      and     compelling         circumstances               under   the

revised    guidelines.         However,       even      under        the    revised

guidelines,       Tellis’s       medical          circumstances            are     not

serious     enough        to      constitute            extraordinary              and

compelling       reasons       justifying         a    sentence       reduction.

Moreover, the 18 U.S.C. § 3553(a) factors do not weigh

in favor of a reduction on the current record.

       DONE, this the 27th day of December, 2023.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE




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